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     1   LAWRENCE P. GRASSINI — Cal. SBN 49046
         LARS C. JOHNSON — Cal. SBN 205712
     2   MARSHALL J. SHEPARDSON — Cal. SBN 263637
         GRASSINI, WRINKLE & JOHNSON
     3   20750 Ventura Boulevard, Suite 221
         Woodland Hills, CA 91364-6235
     4   Tel: (818) 348-1717
         Fax: (818) 348-7921
     5   Email: mail@grassinilaw.com
     6   Attorneys for Plaintiff
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     8
                              UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
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    11
         DOMINIC FONTALVO, a minor, by
    12   and through his Guardian Ad Litem,
         TASHINA AMADOR, individually
    13   and as successor in interest to Alexis
         Fontalvo, deceased, and                  Case No.: 3:13-cv-00331-GPC-KSC
    14   TANIKA LONG, a minor, by and
         through her Guardian Ad Litem,
    15   TASHINA AMADOR,                          Judge: Hon. Gonzalo P. Curiel
    16
                            Plaintiff,
    17                                            DECLARATION OF JOHN
               vs.                                BLOOMFIELD IN OPPOSITION
    18                                            TO SIKORSKY’S MOTION FOR
                                                  SUMMARY JUDGMENT
    19   SIKORSKY AIRCRAFT
         CORPORATION;
    20   SIKORSKY SUPPORT SERVICES,
         INC.; UNITED TECHNOLOGIES
    21   CORPORATION;
         G.E. AVIATION SYSTEMS, LLC;
    22   DUPONT AEROSPACE CO.;
         E.I. DUPONT DE NEMOURS AND
    23   COMPANY;
         PKL SERVICES, INC.; and
    24   DOES 1 through 100, Inclusive,
    25                Defendants.
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          DECLARATION                                    CASE NO. 3:13-CV-00331-GPC-KSC
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   1          Pursuant to 28 U.S.C. § 1746, I, John Bloomfield, declare:
   2          1.     I am an Electromechanical Systems and Aviation specialist, and an
   3    expert retained the plaintiffs in this action to testify regarding design and
   4    engineering issues on the CH-53E helicopter, accident reconstruction, and mishap
   5    investigation.
   6          2.     I submit this Declaration in opposition to the Motion of defendants
   7    Sikorsky Aircraft Corporation, Sikorsky Support Services, Inc., and United
   8    Technologies Corporation (collectively, “Sikorsky”) for summary judgment.
   9          3.     According to Sikorsky’s expert John Wakefield, in his Declaration in
  10    Support of the Motion for Summary Judgment, the CH-53E differs from the -53D in
  11    several key respects. One such difference is that the hydraulic manifold components
  12    in the -53E were consolidated into a single, unified “module.” (Wakefield Exhibit
  13    12 (SER-13300), Sec. 3.1.74.) The ultimate design implementation of this principle
  14    included the fatal vertical juxtaposition of plugs P494 and P495 that I criticize in my
  15    Expert Report.
  16          4.     The variances between the wiring designs of the -53D and -53E are
  17    discernible in the schematic depictions of those systems. Exhibit 1 hereto is the
  18    Landing Gear System schematic pertaining to the R-/CH-53D [SIK024984]. Exhibit
  19    2 hereto is the Landing Gear Control schematic pertaining to the CH-53E
  20    [SIK008384].
  21          5.     The hydraulic utility manifold (“UM”) is identified on both of these
  22    schematics (highlighted in yellow on both Exhibits hereto). It is readily apparent on
  23    Exhibit A that the up- and down-command landing gear controls of the -53D were
  24    both connected to the UM via a single plug, designated “P499” (highlighted in red
  25    on Exhibit 1). This is materially different from the -53E, in which the up- and down-
  26    command wires were connected to the UM via separate plugs, designated “P494”
  27    and “P495” (highlighted in red and green, respectively, in Exhibit 2).
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   1           6.        This unique configuration of the -53E’s wiring design, methods and
   2    manufacture is what led to the mishap in this case, because the wire strands leading
   3    to plugs P494 and P495 became denuded due to friction and chafing, permitting a
   4    short-circuit.
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  12           I DECLARE UNDER PENALTY OF PERJURY THAT THE
  13    FOREGOING IS TRUE AND CORRECT.
  14           Executed on July ___, 2017, at ________________, _________.
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                                          JOHN W. BLOOMFIELD III

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          DECLARATION                                       CASE NO. 3:13-CV-00331-GPC-KSC
